                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA


 UNITED STATES OF AMERICA                            )
                                                     )
                                                     )
 v.                                                  )        No. 1:10-CR-110
                                                     )        Judge Curtis L. Collier
                                                     )
 MARY REVELS                                         )


                                             ORDER

        Defendant has filed a Motion to Determine Mental Competency (Court File No. 132). The

 motion was referred to United States Magistrate Judge William B. Mitchell Carter to conduct an

 evidentiary hearing and make a report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B)

 and (C). The magistrate judge has filed a report and recommendation (Court File No. 346). Neither

 party filed objections within the given ten days.

        After reviewing the record and the applicable law, the Court agrees with the magistrate

 judge's findings of fact and conclusions of law. Accordingly, the Court ACCEPTS and ADOPTS

 the magistrate judge's report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(C) and hereby

 ORDERS the following:

        (1)     The defendant is competent to understand the nature and consequences of the

 proceedings against him and is able to assist in his defense; and




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       (2)   The defendant is competent to stand trial.


       SO ORDERED.

       ENTER:



                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




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